Case 8:21-cv-00060-PSG-JDE Document 56-3 Filed 02/25/22 Page 1 of 6 Page ID #:574




 1
     Michael L. Mallow (SBN 188745)
 2   mmallow@shb.com
     Rachel A. Straus (SBN 268836)
 3   rstraus@shb.com
     SHOOK, HARDY & BACON L.L.P.
 4   2049 Century Park East, Suite 3000
     Los Angeles, CA 90067
 5   Tel: (424) 285-8330 | Fax: (424) 204-9093
 6   Amir Nassihi (SBN 235936)
     anassihi@shb.com
 7   Joan R. Camagong (SBN 288217)
     jcamagong@shb.com
 8   SHOOK, HARDY & BACON L.L.P.
     555 Mission Street, Suite 2300
 9   San Francisco, CA 94105
     Tel: (415) 544-1900 | Fax: (415) 391-0281
10
     Attorneys for Defendant
11   TESLA, INC.
12

13                              UNITED STATES DISTRICT COURT

14                          CENTRAL DISTRICT OF CALIFORNIA

15
     ROBERT FISH, ZACHARY                        Case No. 8:21-cv-00060-PSG-JDE
16   HLVINKA, JOEL MANN, HERBERT
     JOEL SEGALL, and M. DEEBLE,
17   individuals, and on behalf of all others    Assigned to Hon. Philip S. Gutierrez
     similarly situated,                         Courtroom 6A, 6th Floor
18
                  Plaintiffs,
19                                               DECLARATION OF JASJIT
           v.                                    AHLUWALIA
20
     TESLA, INC. d/b/a TESLA MOTORS,
21   INC., a Delaware corporation,
     Defendant,
22
                  Defendant.
23

24

25

26

27

28

                                                                             AHLUWALIA DECL.
                                                                 Case No.: 8:21-cv-00060-PSG-JDE
Case 8:21-cv-00060-PSG-JDE Document 56-3 Filed 02/25/22 Page 2 of 6 Page ID #:575




 1   I, Jasjit Ahluwalia, declare as follows:
 2         1.     I am a Staff Product Manager, IT Applications at Tesla, Inc. (“Tesla”),
 3   where I have been employed for over ten years. Since starting at Tesla my job
 4   responsibilities have consisted of software development and database administration.
 5   Except as otherwise noted, I have personal knowledge of the following facts and if
 6   called to testify could and would testify competently thereto.
 7         2.     As part of its business, Tesla regularly generates and maintains a variety
 8   of records relating to its transactions and communications with customers. Tesla
 9   currently maintains such records in a database called DocGen. Previously, Tesla
10   stored these records in a Salesforce database; those records were migrated to DocGen
11   beginning in or about October 2019.
12         3.     The DocGen system includes copies of customer Motor Vehicle Order
13   Agreements or Motor Vehicle Purchase Agreements (referenced collectively as an
14   “Order Agreement”). When a customer agrees to an Order Agreement with an
15   “Agreement to Arbitrate,” the arbitration agreement provides instructions to the
16   customer about where to send notice if the customer elects to opt out of the arbitration.
17   When Tesla receives a customer notice opting out of an arbitration agreement, a copy
18   of that notice is stored in the DocGen system.
19         4.     The exhibits referenced in and attached to this declaration are records
20   relating to Joel Mann, Herbert Joel Segall, and Zachary Hlavinka that were obtained
21   from Tesla’s DocGen database.
22                                          Overview
23         5.     In general, Tesla customers who want to buy a vehicle from Tesla can
24   start the process by placing an order online through either the desktop or mobile
25   version of Tesla’s website.
26         6.     Tesla provides each customer with an online “Tesla Account”
27   (previously called “My Tesla Account”) that Tesla uses to communicate order updates
28
                                                1
                                                                              AHLUWALIA DECL.
                                                                  Case No.: 8:21­cv­00060­PSG­JDE
Case 8:21-cv-00060-PSG-JDE Document 56-3 Filed 02/25/22 Page 3 of 6 Page ID #:576




  1   and product information, and to provide transaction-related documents for customer
  2   review and acceptance, among other things. The Tesla Account is automatically
  3   created for a customer as part of the order process, although some customers choose to
  4   create a Tesla Account before placing their order (e.g., to save their vehicle
  5   configuration before ordering). To place such an order, the customer must configure
  6   their vehicle by selecting various options for their vehicle (in the case of a new
  7   vehicle), enter payment details and other information, and click a button to place their
  8   order and agree to Tesla’s terms and conditions.1 These terms and conditions are set
  9   forth in an agreement that has been called either a Motor Vehicle Order Agreement or
 10   Motor Vehicle Purchase Agreement at various points in time (referenced collectively
 11   as an “Order Agreement”). When a customer completes their order, but before
 12   delivery, they receive in their Tesla Account a copy of the Order Agreement.
 13         7.     Then, unlike at a traditional car dealership, Tesla customers typically do
 14   not take delivery of their vehicles immediately, but instead wait a period of days or
 15   weeks while Tesla manufactures, transports, and/or otherwise prepares the vehicle for
 16   delivery. Between the initial order and delivery, customers arrange to make final
 17   payment for their vehicles, which can be done by check and/or through a loan or lease
 18   agreement. At or before the time of delivery, the customer makes his or her final
 19   payment and may sign additional documents to complete their purchase. Prior to
 20   delivery of the vehicle, Tesla provides the customer with the Order Agreement which
 21   includes the vehicle configuration and the final price sheet.
 22         8.     One of the final documents that a customer may sign prior to taking
 23   delivery of their vehicle is a delivery declaration which reaffirms the customer’s
 24   understanding that they are bound by the applicable Order Agreement.
 25   ///
 26
      1
 27     The Declaration of Victor Barclay further explains the online purchase process and
      attaches screen shots of the Order Payment screen used to complete an order.
 28                                               2
                                                                                  AHLUWALIA DECL.
                                                                      Case No.: 8:21-cv-00060-PSG-JDE
Case 8:21-cv-00060-PSG-JDE Document 56-3 Filed 02/25/22 Page 4 of 6 Page ID #:577




  1                     Joel Mann’s Model S 100D Order and Delivery
  2         9.    Records from DocGen confirm that Joel Mann ordered a 2017 Model S
  3   100D on July 25, 2017 and indicate that Joel Mann paid an order fee. As part of this
  4   process, on July 25, 2017, a copy of the Order Agreement was made available to him.
  5         10.   On August 7, 2017, Joel Mann took delivery of his vehicle. When he
  6   took delivery, Joel Mann physically signed the Order Agreement that includes the
  7   “Agreement to Arbitrate.” Attached as Exhibit 1 is a true and correct copy of the
  8   Order Agreement Joel Mann signed.
  9         11.   Tesla’s DocGen records do not show that Joel Mann mailed to Tesla at
 10   the address provided in his Order Agreement a request to Opt Out of the Agreement to
 11   Arbitrate. If Joel Mann mailed such a request to Tesla, a copy would be stored in
 12   Tesla’s DocGen records.
 13                   Herbert Joel Segall’s Model X Order and Delivery
 14         12.   Records from DocGen confirm that Herbert Joel Segall ordered a 2018
 15   Model X 75D on October 31, 2018 and indicate that he paid an order fee. As part of
 16   this process, on October 31, 2018, a copy of the Order Agreement was made available
 17   to him. Attached as Exhibit 2 is a copy of the Order Agreement Terms & Conditions
 18   that he agreed to when he placed his order.
 19         13.   On November 27, 2018, Herbert Joel Segall took delivery of his vehicle.
 20   When he took delivery, Herbert Joel Segall physically signed the Order Agreement
 21   that includes the “Agreement to Arbitrate.” Attached as Exhibit 3 is a true and correct
 22   copy of the Order Agreement Herbert Joel Segall signed.
 23         14.   Tesla’s DocGen records do not show that Herbert Joel Segall mailed to
 24   Tesla at the address provided in his Order Agreement a request to Opt Out of the
 25   Agreement to Arbitrate. If Herbert Joel Segall mailed such a request to Tesla, a copy
 26   would be stored in Tesla’s DocGen records.
 27

 28                                              3
                                                                               AHLUWALIA DECL.
                                                                   Case No.: 8:21-cv-00060-PSG-JDE
Case 8:21-cv-00060-PSG-JDE Document 56-3 Filed 02/25/22 Page 5 of 6 Page ID #:578




  1                    Zachary Hlavinka’s Model 3 Order and Delivery
  2         15.   Records from DocGen confirm that Zachary Hlavinka ordered a 2019
  3   Model 3 on December 8, 2019 and indicate that he paid an order fee. As part of this
  4   process, on December 8, 2019, a copy of the Order Agreement was made available to
  5   him. Attached as Exhibit 4 is a copy of the Order Agreement and Terms and
  6   Conditions that he agreed to when he placed his order.
  7         16.   On December 24, 2019, Zachary Hlavinka took delivery of his vehicle.
  8         17.   Tesla’s DocGen records do not show that Zachary Hlavinka mailed to
  9   Tesla at the address provided in his Order Agreement a request to Opt Out of the
 10   Agreement to Arbitrate. If Zachary Hlavinka mailed such a request to Tesla, a copy
 11   would be stored in Tesla’s DocGen records.
 12   ///
 13   ///
 14

 15

 16

 17

 18

 19
 20

 21

 22

 23

 24

 25

 26

 27

 28                                             4
                                                                              AHLUWALIA DECL.
                                                                  Case No.: 8:21-cv-00060-PSG-JDE
Case 8:21-cv-00060-PSG-JDE Document 56-3 Filed 02/25/22 Page 6 of 6 Page ID #:579




  1         I declare under penalty of perjury under the laws of the United States of
  2   America that this Declaration is true and correct. Executed on this 22nd day of
  3   February 2022 in San Francisco, California.
  4

  5

  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19
 20

 21

 22

 23

 24

 25

 26

 27

 28                                              5
                                                                               AHLUWALIA DECL.
                                                                   Case No.: 8:21-cv-00060-PSG-JDE
